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                                  Nebraska Supreme Court A dvance Sheets
                                          297 Nebraska R eports
                                                    CANO v. WALKER
                                                    Cite as 297 Neb. 580



                        Eric Cano,        appellee, v.   Michael Walker, appellant,
                                        and   Billy E. Claborn, Jr., appellee.
                                                      ___ N.W.2d ___

                                          Filed September 1, 2017.   No. S-16-634.

                1.	 Jurisdiction: Appeal and Error. A jurisdictional question which does
                     not involve a factual dispute is determined by an appellate court as a
                     matter of law.
                2.	 Contracts. Contract interpretation presents a question of law.
                3.	 Judgments: Appeal and Error. Appellate courts independently review
                     questions of law decided by a lower court.
                4.	 Jurisdiction: Appeal and Error. Before reaching the legal issues
                     presented for review, it is the duty of an appellate court to determine
                     whether it has jurisdiction over the matter before it.
                5.	 Final Orders: Appeal and Error. Under Neb. Rev. Stat. § 25-1902                     (Reissue 2016), there are three types of final orders which may be
                     reviewed on appeal: (1) an order which affects a substantial right and
                     which determines the action and prevents a judgment, (2) an order
                     affecting a substantial right made during a special proceeding, and (3)
                     an order affecting a substantial right made on summary application in an
                     action after judgment is rendered.
                 6.	 ____: ____. Numerous factors determine when an order affects a sub-
                     stantial right for purposes of appeal. Broadly, these factors relate to the
                     importance of the right and the importance of the effect on the right by
                     the order at issue. It is not enough that the right itself be substantial; the
                     effect of the order on that right must also be substantial. Whether the
                     effect of an order is substantial depends on whether it affects with final-
                     ity the rights of the parties in the subject matter.
                7.	 Jurisdiction: Time: Notice: Appeal and Error. Under Neb. Rev. Stat.
                     § 25-1912 (Reissue 2016), to vest an appellate court with jurisdiction, a
                     party must timely file a notice of appeal within 30 days of the judgment,
                     decree, or final order from which the party is appealing.
                8.	 Debtors and Creditors: Releases. The voluntary release of one joint
                     debtor operates as a release of his or her codebtors.
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             Nebraska Supreme Court A dvance Sheets
                     297 Nebraska R eports
                              CANO v. WALKER
                              Cite as 297 Neb. 580
 9.	 Promissory Notes: Releases. The unconditional release of one of sev-
     eral makers of a joint and several promissory note, without the consent
     of the other makers thereof, operates as a release of all.
10.	 Contracts: Releases. Under the common-law rule as it has developed in
     Nebraska, the qualifiers that releases must be “voluntary” and “uncon-
     ditional” require consideration of general principles of contract inter-
     pretation when determining whether the common-law rule is applicable.
     Generally, the question is whether the language of the release at issue is
     unqualified such that it amounts to a complete satisfaction of the debt,
     or whether the language of the release is qualified such that it operates
     as merely a partial satisfaction of the debt.
11.	 Releases. The general rule of law is that a promise to release does not
     take effect until the agreed promise is completed.
12.	 Judgments: Debtors and Creditors: Releases. A judgment creditor
     may make a valid and binding agreement, either at the time a judgment
     is entered or later, to release and satisfy the judgment on terms other
     than receiving full payment of its amount. If the agreement to release or
     satisfy is executory, there is no release of the judgment until it is per-
     formed. The corollary to this rule is that once the relevant promises are
     performed, the agreement to release becomes effective.
13.	 Courts. The doctrine of stare decisis forms the bedrock of Nebraska’s
     common-law jurisprudence.
14.	 Courts: Appeal and Error. The doctrine of stare decisis does not
     require appellate courts to blindly perpetuate a prior interpretation of
     the law if it was clearly incorrect, but it is entitled to great weight and
     requires that the courts adhere to their previous decisions unless the
     reasons therefor have ceased to exist, are clearly erroneous, or are mani-
     festly wrong and mischievous or unless more harm than good will result
     from doing so.
15.	 Courts: Public Policy: Appeal and Error. The doctrine of stare decisis
     is grounded in the public policy that the law should be stable, fostering
     both equality and predictability of treatment. By requiring appellate
     courts to adhere to their previous decisions in most circumstances, the
     doctrine of stare decisis promotes the evenhanded, predictable, and
     consistent development of legal principles, fosters reliance on judicial
     decisions, and contributes to the actual and perceived integrity of the
     judicial process.

  Appeal from the District Court for Douglas County: Shelly
R. Stratman, Judge. Reversed and remanded with directions.
  Warren R. Whitted, Jr., and Keith A. Harvat, of Houghton,
Bradford &amp; Whitted, P.C., L.L.O., for appellant.
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                Nebraska Supreme Court A dvance Sheets
                        297 Nebraska R eports
                               CANO v. WALKER
                               Cite as 297 Neb. 580
 Larry R. Forman, of Hillman, Forman, Childers &amp;
McCormack for appellee Eric Cano.
   Heavican, C.J., Wright, Miller-Lerman, Cassel, Stacy,
K elch, and Funke, JJ.
   Stacy, J.
   This is an appeal from an order denying a motion to dis-
charge judgment filed by one of two judgment debtors who
were co-obligors on a promissory note. The issues raised
by the parties require us to consider the applicability, and
continued viability, of the common-law rule in contracts that
“‘[t]he unconditional release of one of several makers of a
joint and several promissory note, without the consent of
the other makers thereof, operates as a release of all.’”1 We
conclude the rule represents settled law in Nebraska, and we
find it should have been applied by the district court in this
case. Accordingly, we reverse, and remand with directions to
discharge the judgment.
                          I. FACTS
   Eric Cano filed suit against Michael Walker and Billy E.
Claborn, Jr., in October 2012, alleging they had failed to pay
amounts due on a promissory note executed in April 2007.
Cano prayed for judgment against them “jointly and severally”
in the amount of $299,500, plus interest and penalties. All
parties agree the promissory note imposed joint and several
liability on Walker and Claborn.
   Cano moved for summary judgment in October 2013.
The matter was heard on November 12. At the hearing,
Cano represented that the amounts due on the note were
$299,500 in principal, a late charge of $14,975, and interest
of $72,958.20, for a total of $387,433.20. On November 20,

 1	
      Bankers Life Ins. Co. v. Ohrt, 131 Neb. 858, 862, 270 N.W. 497, 500      (1936). See, Coleman v. Beck, 142 Neb. 13, 5 N.W.2d 104 (1942); Lamb v.
      Gregory, 12 Neb. 506, 11 N.W. 755 (1882); 3’s Lounge v. Tierney, 16 Neb.
      App. 64, 741 N.W.2d 687 (2007).
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           Nebraska Supreme Court A dvance Sheets
                   297 Nebraska R eports
                        CANO v. WALKER
                        Cite as 297 Neb. 580
the court entered summary judgment in favor of Cano and
against both Walker and Claborn for $387,433.20.
   Cano did not tell the court at the summary judgment hear-
ing that he and Claborn had entered into a “Stipulation” on
November 11, 2013, without Walker’s knowledge. According
to the terms of the stipulation, Claborn agreed to entry of
judgment against him for the full amount due on the note,
and agreed to pay $40,000 immediately and an additional
$127,000 by June 2, 2014. Claborn also agreed to provide a
new furnace and an air-conditioning unit for Cano’s residence
in Omaha, Nebraska, on or before December 13, 2013. The
parties later agreed this was worth approximately $10,000.
In exchange for these payments and services, Cano agreed
not to execute on the judgment against Claborn so long as he
complied with the stipulation, and further agreed that “[u]pon
satisfaction by Claborn with the terms [of the stipulation],
Cano shall forthwith release Claborn completely from such
judgment . . . .”
   After the court entered judgment on the promissory note,
Cano attempted to execute on the judgment against Walker in
various ways, representing that Walker owed the full amount of
the judgment. Walker actively avoided the execution attempts
and was held in contempt of court at least once.
   On July 17, 2014, Cano filed what he captioned a
“Satisfaction” in the case, which stated in full: “COMES
NOW the Plaintiff and shows the Court that the Defendant
Billy E. Claborn, Jr. has fully satisfied the Judgment against
him in the above-captioned case, provided that the Judgment
entered herein against Defendant Michael Walker remains
unsatisfied.” After filing this satisfaction, Cano continued his
attempts to collect the judgment from Walker, and Walker con-
tinued to evade collection efforts.
   In November 2015, Cano attempted once again to col-
lect the judgment against Walker by seeking an order in aid
of execution from the court. Walker filed an objection, rais-
ing for the first time the argument that satisfaction of the
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                Nebraska Supreme Court A dvance Sheets
                        297 Nebraska R eports
                               CANO v. WALKER
                               Cite as 297 Neb. 580
j­udgment against Claborn operated to satisfy the judgment
 against Walker as well.
    During the hearing on Walker’s objection to Cano’s request
 for an order in aid of execution, the parties argued about the
 legal effect of the satisfaction Cano had filed. Cano argued
 the satisfaction operated only as against Claborn, because it
 stated the judgment “remain[ed] unsatisfied” as against Walker.
 Walker relied on Nebraska case law holding that “‘[t]he uncon-
 ditional release of one of several makers of a joint and several
 promissory note, without the consent of the other makers
 thereof, operates as a release of all.’”2
    The court commented that based on the court record, it
 appeared the entire judgment had been paid. In response to
 this comment, Cano’s counsel, for the first time, informed the
 court and Walker he had made a “deal” with Claborn to pay
 $167,000 “in exchange for a release.” Upon learning of the
 agreement and release, the court informed Cano that the order
 in aid of execution would be denied and that further proceed-
 ings were necessary.
    Thereafter, Walker filed a motion to discharge the judgment,
 premised on the common-law rule that the release of one joint
 obligor on a promissory note operates to release all. After hold-
 ing an evidentiary hearing, the district court overruled Walker’s
 motion for discharge, but exercised its inherent authority to
 reduce the amount of the judgment by $40,000—the amount
 the record showed Claborn had paid to Cano before the sum-
 mary judgment was entered on the full amount of the promis-
 sory note.
    Walker filed this timely appeal, and we moved the case
 to our docket on our own motion pursuant to our statutory
 authority to regulate the caseloads of the appellate courts of
 this state.3

 2	
      Id.
 3	
      Neb. Rev. Stat. § 24-1106(3) (Reissue 2016).
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               Nebraska Supreme Court A dvance Sheets
                       297 Nebraska R eports
                              CANO v. WALKER
                              Cite as 297 Neb. 580
                II. ASSIGNMENTS OF ERROR
   Walker assigns, restated and consolidated, that the district
court erred in (1) finding the stipulation between Cano and
Claborn did not release both Walker and Claborn from the
judgment; (2) finding the satisfaction filed in July 2014 did
not satisfy the judgment entered against both Walker and
Claborn; (3) determining it had the inherent power to change
the amount of the judgment entered on November 20, 2013;
and (4) failing to discharge the judgment against Walker.
                 III. STANDARD OF REVIEW
   [1] A jurisdictional question which does not involve a fac-
tual dispute is determined by an appellate court as a matter
of law.4
   [2] Contract interpretation presents a question of law.5
   [3] Appellate courts independently review questions of law
decided by a lower court.6
                         IV. ANALYSIS
                  1. Jurisdictional A rguments
   [4] Before reaching the legal issues presented for review, it
is the duty of an appellate court to determine whether it has
jurisdiction over the matter before it.7 Cano presents two juris-
dictional challenges in his brief. He argues that Walker has not
appealed from a final order under Neb. Rev. Stat. § 25-1902(Reissue 2016), and he argues that the appeal was untimely
filed under Neb. Rev. Stat. § 25-1931 (Reissue 2016). We
address each argument in turn.

 4	
      Ginger Cove Common Area Co. v. Wiekhorst, 296 Neb. 416, 893 N.W.2d
      467 (2017).
 5	
      Beveridge v. Savage, 285 Neb. 991, 830 N.W.2d 482 (2013); Blakely v.
      Lancaster County, 284 Neb. 659, 825 N.W.2d 149 (2012).
 6	
      Clarke v. First Nat. Bank of Omaha, 296 Neb. 632, 895 N.W.2d 284      (2017).
 7	
      In re Guardianship &amp; Conservatorship of Barnhart, 290 Neb. 314, 859
      N.W.2d 856 (2015); Despain v. Despain, 290 Neb. 32, 858 N.W.2d 566      (2015).
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                Nebraska Supreme Court A dvance Sheets
                        297 Nebraska R eports
                               CANO v. WALKER
                               Cite as 297 Neb. 580
                  (a) Finality Under § 25-1902
   [5] Under § 25-1902, there are three types of final orders
which may be reviewed on appeal: (1) an order which affects
a substantial right and which determines the action and pre-
vents a judgment, (2) an order affecting a substantial right
made during a special proceeding, and (3) an order affecting
a substantial right made on summary application in an action
after judgment is rendered.8 Walker filed this appeal from the
district court’s May 26, 2016, order overruling his motion to
discharge the judgment. That order is properly characterized
as one made on summary application after judgment is ren-
dered, and we focus on whether that order affected a substan-
tial right.9
   [6] Numerous factors determine when an order affects a
substantial right for purposes of appeal. Broadly, these factors
relate to the importance of the right and the importance of the
effect on the right by the order at issue.10 It is not enough that
the right itself be substantial; the effect of the order on that
right must also be substantial.11 Whether the effect of an order
is substantial depends on “‘“‘whether it affects with finality
the rights of the parties in the subject matter.’”’”12
   Cano argues that because the order denying discharge also
resulted in the judgment against Walker being reduced by
$40,000, it was actually beneficial to Walker and therefore
did not affect a substantial right. This argument ignores the
nature of the relief Walker was seeking—to be fully dis-
charged from the judgment. To the extent the district court
denied that relief in overruling Walker’s motion for discharge,
we find the order affected a substantial right and was a final,
appealable order.

 8	
      In re Interest of Noah B. et al., 295 Neb. 764, 891 N.W.2d 109 (2017).
 9	
      § 25-1902.
10	
      In re Interest of Noah B. et al., supra note 8.
11	
      Id.
12	
      Id. at 774, 891 N.W.2d at 119.
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                Nebraska Supreme Court A dvance Sheets
                        297 Nebraska R eports
                              CANO v. WALKER
                              Cite as 297 Neb. 580
                    (b) Timeliness of Appeal
   [7] Cano presents two arguments that Walker’s appeal was
untimely. Both arguments misstate the record, and addressing
them in detail is unnecessary. Under Neb. Rev. Stat. § 25-1912(Reissue 2016), to vest an appellate court with jurisdiction,
a party must timely file a notice of appeal within 30 days of
the judgment, decree, or final order from which the party is
appealing.13 Here, Walker filed his notice of appeal within 30
days of the court’s order overruling his motion to discharge the
judgment. This appeal was timely filed, and Cano’s arguments
to the contrary are meritless.
         2. Nebraska Common Law R egarding R elease
                 of Joint Debtors in Contract
   [8,9] In the area of contracts, Nebraska has long followed
the common-law rule that the “‘voluntary release’” of one
joint debtor operates as a release of his or her codebtors.14
It is well settled that “‘[t]he unconditional release of one of
several makers of a joint and several promissory note, without
the consent of the other makers thereof, operates as a release
of all.’”15
   The question presented in this appeal is whether, on the
facts of this case, the common-law rule applies. The answer
to that question turns on whether the stipulation between
Cano and Claborn, and/or the subsequent satisfaction of judg-
ment, represented an unconditional and voluntary release of
Claborn. If so, then under the common-law rule, Walker was
also released.
   Over the years, this court has used the terms “voluntary”
and “unconditional” when referencing the common-law rule

13	
      Clarke, supra note 6.
14	
      Coleman, supra note 1, 142 Neb. at 17, 5 N.W.2d at 106. Accord Lamb,
      supra note 1.
15	
      Bankers Life Ins. Co., supra note 1, 131 Neb. at 862, 270 N.W. at 500.
      See, Farmers State Bank v. Baker, 117 Neb. 29, 219 N.W. 580 (1928);
      Huber Mfg. Co. v. Silvers, 85 Neb. 760, 124 N.W. 148 (1910).
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                Nebraska Supreme Court A dvance Sheets
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                                CANO v. WALKER
                                Cite as 297 Neb. 580
regarding releases of co-obligors,16 but we have not defined
those terms. Our use of these terms in describing the common-
law rule appears to be unique; general sources citing the
common-law rule do not contain the qualifiers “voluntary” or
“unconditional.”17 Instead, the common-law rule is simply that
a release of one joint obligor releases all.18
   [10] We understand the qualifiers in our recitation of the
common-law rule to require consideration of general prin-
ciples of contract interpretation when determining whether
the ­common-law rule is applicable. Generally, the question
is whether the language of the release at issue is unqualified
such that it amounts to a complete satisfaction of the debt,
or whether the language of the release is qualified such that
it operates as merely a partial satisfaction of the debt.19 We
review our prior decisions to illustrate the application of the
common-law rule as it has developed in Nebraska.
   We first applied the common-law rule in 1882, in Lamb
v. Gregory.20 There, the plaintiff obtained a deficiency judg-
ment against two debtors. One of the debtors moved to have
the judgment set aside as to him because it was discharged in
bankruptcy. The plaintiff agreed “‘to the setting aside of the
judgment’” against that debtor, and it was set aside.21 Later,
the other debtor moved to be discharged from the judgment,
arguing the release of the first debtor operated as a release
of both from liability on the judgment. We agreed, citing the
rule that “‘[i]f two or more are jointly bound, or jointly and

16	
      See, Coleman, supra note 1; Bankers Life Ins. Co., supra note 1; Lamb,
      supra note 1.
17	
      See, generally, Annot., 53 A.L.R. 1420 (1928).
18	
      Id. See, also, Schiffer v. United Grocers, Inc., 329 Or. 86, 989 P.2d 10      (1999).
19	
      See Bankers Life Ins. Co., supra note 1. See, generally, 53 A.L.R., supra
      note 17 (noting that courts will look at parties’ intentions when construing
      release and that express reservation of rights can avoid common-law rule).
20	
      Lamb, supra note 1.
21	
      Id. at 507, 11 N.W. at 755.
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                Nebraska Supreme Court A dvance Sheets
                        297 Nebraska R eports
                                CANO v. WALKER
                                Cite as 297 Neb. 580
severally bound, and the obligee releases one of them, all are
discharged.’”22
   In Huber Mfg. Co. v. Silvers,23 the plaintiff sued on five
promissory notes, signed jointly by three debtors. The notes
were given by the debtors for the purchase from the plaintiff
of a steam thresher separator. After the notes were executed,
one of the three debtors, John Silvers, went to the plaintiff and
represented that he had sold his interest in the threshing outfit
to the others and that they had assumed and agreed to pay the
notes. The plaintiff, without investigating the veracity of this
claim, agreed to release Silvers from the notes and sell him
another threshing machine. The terms of the release were that
Silvers was “‘“released without recourse”’” from the notes.24
Noting the record was unclear as to Silvers’ veracity, we
applied the common-law rule to hold, with “great reluctance,”
that the release of Silvers operated as a release of all debtors
on the notes.25
   In Farmers State Bank v. Baker,26 four parties were jointly
liable on promissory notes. Through a complicated arrange-
ment, one of the parties was released from liability on the
notes. Although that release did not appear to contemplate or
intend any release of the others, we nevertheless held that the
release of one of several makers of a joint and several prom-
issory note, without the consent of the others, operated as a
release of all.
   In Bankers Life Ins. Co. v. Ohrt,27 the holder sued five mak-
ers of a note and mortgage. At the beginning of the trial,
the holder stated that he “‘waive[d] personal liability of the

22	
      Id. at 508, 11 N.W. at 755.
23	
      Huber Mfg. Co., supra note 15.
24	
      Id. at 761, 124 N.W. at 148.
25	
      Id. at 765, 124 N.W. at 149.
26	
      Farmers State Bank, supra note 15.
27	
      Bankers Life Ins. Co., supra note 1.
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                                CANO v. WALKER
                                Cite as 297 Neb. 580
defendant Rosa Oft’” on the note and mortgage.28 Later, coun-
sel withdrew that waiver on the record. On appeal, the other
four makers argued this was an unconditional release of Rosa
Oft and operated as a release of all of them as well. We dis-
agreed, and found the release did not apply to all. We reasoned
the evidence did not show the release was unconditional,
because the statement was not that Oft was “released from all
effects of the note and mortgage,” but merely that the plaintiff
had waived Oft’s “personal liability.”29 We also found it signifi-
cant that the waiver had been withdrawn.
   In Coleman v. Beck,30 a husband and wife executed a prom-
issory note and a mortgage. They later sold the real property
encumbered by the mortgage to Lyle Trumbley, who assumed
payment of the mortgage. The real estate was foreclosed upon,
and a deficiency judgment was entered against the husband,
the wife, and Trumbley. The bank then released the husband
and wife from the judgment, and Trumbley argued on appeal
that the release operated to release him as well. We held the
common-law rule did not apply, because Trumbley, who had
assumed the promissory notes, was not a joint debtor on the
notes with the husband and wife. Rather, he was the surety
on the mortgage debt, and we concluded that a release of the
husband and wife did not affect his liability.
   With these holdings in mind, we consider the relevant docu-
ments in the present case.
                   3. R elease Documents
                        (a) Stipulation
  The stipulation between Cano and Claborn provided in rel-
evant part:
     Notwithstanding entry of the judgment against Claborn as
     aforesaid, Cano covenants that he shall take no steps to

28	
      Id. at 862, 270 N.W. at 500.
29	
      Id.30	
      Coleman, supra note 1.
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      execute on such judgment and that he shall take no action
      against Claborn with respect to said judgment so long
      as Claborn complies with the terms of this Stipulation.
      Upon satisfaction by Claborn with the terms hereof,
      Cano shall forthwith release Claborn completely from
      such judgment and from any liability for any amounts
      in excess of the amounts required from Claborn as set
      forth herein.
   [11] The plain language of this stipulation provided that
Cano would not take any action on the judgment against
Claborn while Claborn’s promise to pay the agreed amounts
remained executory, but that once Claborn’s promise was com-
pleted, Claborn would be released “completely.” This inter-
pretation is consistent with the general rule of law that a
promise to release does not take effect until the agreed promise
is completed.31
   We find the plain and unambiguous language of this stipu-
lation operated as an unconditional and voluntary release of
Claborn as soon as he satisfied its terms. Our record does not
reveal the precise date on which Claborn satisfied the terms of
the stipulation, but there is no dispute that he did so, prompt-
ing Cano to file the satisfaction of judgment which we con-
sider next.

                        (b) Satisfaction
   The satisfaction Cano filed in this case recited that Claborn
had “satisfied the Judgment against him” and further recited
that “the Judgment entered herein against . . . Walker remains
unsatisfied.” Cano argues that the qualifying language of
the satisfaction reserved Walker’s liability and prevented the
unconditional release of Claborn from operating as a release
of Walker.
   [12] But we conclude the relevant and operative release
language is found in the stipulation, not the satisfaction. A

31	
      50 C.J.S. Judgments § 892 (2009).
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judgment creditor may make a valid and binding agreement,
either at the time a judgment is entered or later, to release and
satisfy the judgment on terms other than receiving full pay-
ment of its amount.32 If the agreement to release or satisfy is
executory, there is no release of the judgment until it is per-
formed.33 The corollary to this rule is that once the relevant
promises are performed, the agreement to release becomes
effective.34 So, once the terms of the stipulation were met in
this case, Claborn was fully and unconditionally released. The
qualifying language recited later in the satisfaction of judg-
ment was irrelevant.
             4. R eleases of Joint Tort-feasors A re
                 Governed by Different Rules
   In his briefing on appeal, Cano relies rather extensively on
Nebraska law addressing joint liability in tort and the effect of
releasing one of several joint tort-feasors. Because Nebraska
statutes and case law treat joint tort-feasors differently than
co-obligors on a contract or judgment, the rules governing
release of joint tort-feasors are not instructive in the pres-
ent case.
                   5. Continued Viability of
                       Common-Law Rule
   Cano urges this court to abolish the common-law rule that
the unconditional release of one of several co-obligors on a
note, without the consent of the others, operates as a release of
all. Nebraska is among a minority of jurisdictions to continue
applying the common-law rule. Of those jurisdictions that have
abolished the rule, most have done so through legislative action
rather than judicial decision.35

32	
      Id.
33	
      Id.
34	
      See id.
35	
      See, e.g., Schiffer, supra note 18 (including appendix listing how each
      state treats issue).
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   [13-15] The doctrine of stare decisis forms the bedrock of
our common-law jurisprudence.36 While it does not require us
to blindly perpetuate a prior interpretation of the law if we con-
clude it was clearly incorrect,37 it is entitled to great weight38
and requires that we adhere to our previous decisions “unless
the reasons therefor have ceased to exist, are clearly errone-
ous, or are manifestly wrong and mischievous or unless more
harm than good will result from doing so.”39 The doctrine “is
grounded in the public policy that the law should be stable,
fostering both equality and predictability of treatment.”40 By
requiring appellate courts to adhere to their previous decisions
in most circumstances, the doctrine of stare decisis “promotes
the evenhanded, predictable, and consistent development of
legal principles, fosters reliance on judicial decisions, and
contributes to the actual and perceived integrity of the judi-
cial process.”41
   The common-law rule in contracts—that an unconditional
release of one joint obligor without the consent of the oth-
ers operates to release all—has governed business decisions
and contractual arrangements in Nebraska for more than a
century. The rule is predictable, easy to understand, and easy
to apply. Moreover, at least as it has developed in Nebraska,
the ­common-law rule includes the unique requirements that
a release of one joint debtor must be both “voluntary” and
“unconditional” before the rule operates to release all joint
debtors. So if individuals and businesses want to structure
releases in a way that avoids the consequences of the rule, it is
clear how to do so.

36	
      Holm v. Holm, 267 Neb. 867, 678 N.W.2d 499 (2004).
37	
      Id.38	
      Edwards v. Hy-Vee, 294 Neb. 237, 883 N.W.2d 40 (2016).
39	
      Id. at 247, 883 N.W.2d at 47-48.
40	
      State v. Hausmann, 277 Neb. 819, 828, 765 N.W.2d 219, 226 (2009).
41	
      Michigan v. Bay Mills Indian Community, ___ U.S. ___, 134 S. Ct. 2024,
      2036, 188 L. Ed. 2d 1071 (2014) (citations omitted).
                              - 594 -
           Nebraska Supreme Court A dvance Sheets
                   297 Nebraska R eports
                        CANO v. WALKER
                        Cite as 297 Neb. 580
   We see no principled reason to depart from this settled
precedent, and we decline Cano’s invitation to abolish the
common-law rule in Nebraska. If the settled common law is to
be amended or abolished, that action should be undertaken by
the Legislature rather than the judiciary.
                       V. CONCLUSION
   Under settled Nebraska contract law, the unconditional
release of one of several joint obligors on a promissory note,
without the consent of the other obligors, operates as a release
of all. Walker and Claborn were co-obligors on a promissory
note that was reduced to a judgment. Without the consent of
Walker, Cano and Claborn entered into a stipulation which
operated as an unconditional release of Claborn once he satis-
fied the terms of the stipulation.
   As such, under the common-law rule in Nebraska, the
unconditional release of Claborn from the judgment oper-
ated as a release of Walker. Because the district court erred
in denying Walker’s motion to discharge the judgment against
him, we reverse, and remand with directions to grant the
requested discharge.
                     R eversed and remanded with directions.
